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                        IN THE UMTED STATESDISTRICTCOURT
                             FORTHE DISTRICTOF KANSAS

AMANDA CHURd etal-,

        Plaintiffs,

                                                   CaseNo. I 1-2090-CM-DJW
v.

DELMAR GARDENSOFLENEXA,
NC.,

        Defendant.

                     DEFENpANT'SRESPONSETO PLAINTTTFS'
                 FIRST REOUESTX'ORPRODUCTIONOJ' DOCUMENTS

        COMESNOW DefendantDeinlar Gardensof Lenex4 lnc. and for its Responseto

Plaintiff ,Amanda
                Chura'sFirst Requestfor Productionof Documents,
                                                             statesasfollows:

                                 DOCT]MENTREOIIESTS

        DocumentReauestNo. 1: Identify and produce each document concerning the

knowledgeof the individualsidentifiedin responseto Plaintiffs' (Chur4 Cook and/orGilstrap)

Intenogatory
           No.l.

       Answer:       Seedooumentsproduced,includingPlaintiff Cook and Plaintiff Chura's
written complaints,andPlaintiffsCook,ChuraandGilstrap'spersonnelfiles




        DocumentReguestNo.Z:        Identify and produce each document mentioning the

complaints identified in responseto Plaintiffs' Intenogatory No.2 (Chura, Cook and/or Gilst'ap)

and Employer'sresponse(ifany).

       Answer:      See docunents produced" including, Amanda Chura's Charge of
Discrimination and Complaint, Betty Cook's Charge of Discrimination and Complaint, David
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Gilstap's Chargeof Discrimination and Complaint Defendantreservesthe right to supplement
ils responseto RequestNo. 2.




       DocumentReouestNo.3:          Identify and produce each document conceming

Ernployer'salryareness
                    of Plaintiffs' (Churq Cookand/orGilstrap)allegationsof discrimination,

sexualharassment
              and/orretaliation.

      Anqwer:      Seedocumentsproduced,includingPlaintiff Churaand Plaintiff Cook's
wdtten complaintsandPlaintiffsChur4 CookandGilstrap'sChargeof Dscrimination.




       DocumentRequestNo.4:          Identify and produce each document memorializing

Employer's efforts to preservedocurnentsand./orelectronically storedinformation, including any

s6mftrrnica{ionsto employees,managersand./zupervisors.Include (i) a copy of Employer's

document tetention policy ia effect at the time zuch conrnunication was received (ii) any

diagrans or manuals explaining the conshuction and/or operation of Employer's computer

network.

       Answer;        Defendantobjects to RequestNo. 4 as it seeksinformation not relevant to
the iszues in this lawsuit, nor reasonably calculated to lead to the discovery of admissible
evidence and to the extent that it seels documentsprotected by the attorney-client privilege.
Subject to and without waiving said object, Defendantstatesthat it was instructedby Counselto
take steps to preserve all evidence tlat is potentially rolevant to this litigation, including all
docunents, recordings,electronically storedinformation, andphysical objects.
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       DocumentRequestNo,5:         Produceall docunrentsconcemingany investigationmade

by Employer in responseto Plaintiffs' (chwa" cook and/or Gilstrap) complaints of

discrimination,sexualharassment
                              and retaliation,inoludingbut not limited to eachdocument

createdas a result of Plaintiffs' (Chura,Cook and/orGllstrap)complaintsto humanrrsoluces,

any docrrmentsconcerningdiscipline of any allegedharasseror employeewho engagedin

retaliation.Identifythe authorofeachsuchdocumenr.

      Answer:         Defendantobjectsto RequestNo. 5 to the extentthatit seeksinformation
protectedby t}teattorney-clienlprivilegeandthe attomeywork productdoctrine. Subjectto and
without waiving said objectious,Defendantreservesthe right to supplementits responseto
RequestNo. 5 afterfurtherinvestigationanddiscovery,




       DocurnentRequestNo. 6:       Produce all docunoentsconcerningEmployer'spolicy to

prevent harassmentand/or discrimination and/or retaliation, Plaintiffs' (Chura, Cook and/or

Gilstrap) utilization of such policy (or alleged failure to use such policy), all docunents

conceming Plainliffs' (Chura, Cook and/or Gilstrap) awarenessof the policy and all documents

conceming any training provided by Employer to its employeesfor ttre past five years"including

any proof Plaintifts' (Churq Cook and/or Gilstap) received a copy or such rairittenpolicy or

suchtraining. Identify the author of eachsuch document.

       Answer:     See documentsproduced, including Delnar GardensPersomel Policies,
and documentscontainedin the penonnel fi]es for Plaintiffs chura, cook and Gilstrap.
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       Document Request No,7:        Produce all documents that refer, relate to or reflect

Defendant'sefforts to prevent retaliation againstPlaintiffs' (Chura, Cook andlor Gilstrap).

       Answer:     See documeutsproduced, including Delmar Gardens PersonnelPolicies,
and documentscontainedin the personnelfiles for Plaintiffs Chura,Cook and Gitstrap.




       DocumentRequestNo.8: Produce all documentsooncemingthe reasonsfor

Plaintiffs' (Chrua,Cookand/orGilstrap)termination.

     Anq[er:                 producedincludingthepersonnelfiles for PlaintiffsChura,
                 Seedocurnents
CookandGilstrap.




       DocunentR€questNo.9: Produoeany electronicallystoredinformationreceived,

sentor createdby TonyaBemett ('Harasser")that containanyof the followingASCtr strings:

adultfilm
adultvideo
anal
nss
bikini
bitch
bitches
blowjob
boob
boobs
breast
breasts
butt
buttocks
butthole
clit
clits
cock
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cocks
cocksucker
coochie
coochy
crmt
crmts
dick
dicks
dildo
dildos
fag
faggot
fuok
fucking
 fuckingme
jerk
jerking me
 g-string
joke
kiss
milf
milfs
muff
muff diver
naked
panties
pasties
pole dance
packofbeers
poontang
pom
pomography
prostitute
prostitutes
pussy
sex
sexual
sexualharassment
skank
skanks
slut
sluts
spit out
strip
suck
sucks
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swap
swap paffy
swapping
tattoo
thong
rit
tits
topless
vagina
vaginas
vibrator
whore
whores
wife swap
)o(x
)oo(

       Answer: Defendantobjectsto DocumentRequestNo. 9 on the groundsthat it is overly
bwdensome,and seeksinformationnot relevantto the issuesin this lawsuit, nor reasonably
calculatedto leadto tle discoveryof admissibleEvidence.Subjectto andwithout waivingsaid
objection,seedocuments  produced.




       Document Request No. 10: Produco any elechonically stored information received,

sent or qeated by Tonya Bennett that contain any sexualor nude images.

       Answer:        Defendant objects to Document RequestNo. 10 on the grounds that it is
overly burdensome, aod seeks information not relevant to the issues in this lawsuit, nor
reasonablycalculated to lead to the discover,vof admissible evidence. Subject to and without
waiving said objection, seedocumentsproduced.




       DocumentReque$tNo.
                       11.: Produceany electronicallystoredinformationreceived,

sentor createdby anyonein the ernployof Employerthat containany of the following ASCII

strinss:
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Tonyaor Bennettsexualharassment
Tonyaor Bennettharassing
Tonyaor Bennetthaxass
Tonyaor Berurettsex
Tonyaor Bennettinappropriate
Tonyaor Bennettvulgar
Tonyaor Benneftrmcomfortable
Tonyaor Bennettnearher
Tonyaor Bennettaroundhsr
Tonyaor Bennettworkspace
Tonyaor Bennettwork area
Tonyaor Bennetttasteless
Tonyaor Benaettoffensive
Tonyaor Bennettlanguage
Tonyaor Ben:reftjoke
Tonyaor Beunettjokes
Tonyaor Benaettdate
Tonyaor Bennettdates
Tonyaor Bennetttouch
Tonyaor Bennetttouches
Tonyaor Berurettdick
Tonyaor Ben:rettpenis
Tonyaor Bermettbutt
Tonyaor Bennettbuttocks
Tonyaor Bennettbreast
Tonyaor Bennettbreasts
Tonyaor Bennettretaliate

       1@Sl:        Defendantobjectsto DocumentRequestNo. 11 on flre groundsthat it is
overly burdensome,and seeksinformation not relevart to the issuesin this lawsuit, nor
reasonablycalculatedto leadto tle discoveryof admissibleevidence. Subjectto and without
waiving saidobjection,seedocuments produced.




       Document Requqst No. 12: Identify and produce all documents conceming the

complete personnel files, disciplinary fiIes, applications for employment, all doc.uments

concerning performance, discipline (inciuding supporting or related documents), attendance

records, criminal records (if any) and documentsconcerning leaves of absence,qualifications,
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                                                                    includingpayroll
terminationand naining as well as all documentsconcerningcompensation,

records,of Plaintiffs(Chura Cookand/orGilstrap).

      Answer:     See documentsproduced,including the personnelfiles for Plaintiffs,
Chura,CookandGilstap.




                                                               reflecting,referringor
       DocumentRequestNo. 13: Identifu and produceall docurnents

relatingto the Chargesfiled by Plaintiffs (Churq Cook and/orGilstap) againstEmployerwith

the EqualEmploymentOpportunityCommissionidentiffing.

       Answer:     See documentsproduced, including Chargesof Discrimination for
PlaintiffsChur4 CookandGilstrap.




       Document Request No. 14: Identify and produce all documentsreflecting, referring or

relating to the chargesof sexualharassnent,discrimination or retaliation filed by any employee,

manager and/or supewisor against Errployer (including complaints against any mrunger,

supervisoror office) in the past five yems.

      AIW:         See docurnentsproduced" including Charge of Discrimination fiJed by
Andre White and Chargesof Discrimination filed by Plaintiffs Chura"Cook and Gilstrap.
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       DocumentRequestNogl{: Identify and produce all documentsconcerningnon-

privilegedcommunications
                       concemingthis lawsuit.

       Answer:       Defendantobjectsto RequestNo, 15to the extentthat it seeksinformation
protectedby the attomey-clientprivilegeandthe attomeywork productdoctrine. Subjectto and
withoutwaivingsaidobjections,seedocumonts   produced.




       DocumentRequestNo. L6: Identi$ and produce all doouments reflecting the

organizationof Employerduringthe periodcoveredin the Complaint,includingorganizational

charts.

       Answer:       Defendantobjectsto DocumentRequestNo. 16 on the groundsto the
extentit seeksinformationnot relevantto tl.e issuesin this lawsuit,nor reasonably
                                                                                calculatedto
lead to the discoveryof admissibleevidence. Subjectto and without waiving said objection,
Defendantdoesnot have an organizationalchart of Employer, The Facility Adminisfator of
DelmarGardensLenexareportsto the Presidentand CEOof DelmarGardensEnterprises,          Gabe
Grossberg. Within DelrnarGardensLenexa,eachof the variousdepartrnents         (nursing,food
services,admissions,etc)havea directorwho reportsto theFacilityAdminishator.




       Docunent RequestNo. 17: Identily and produceall recordings,video or audio,which

relate to the ComplaintoAnswer or Counterclaims.

       Answer:      None.
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                        18: Identify and produceall documents,includingbut not
        DocumentRequestNo.

limited to guidelinesandtraining materials,relatingto the mannerin which investigafioasinto

allegationsof sexualharassment
                            and/ordiscriminationaremade.

       Answer:    See documents produce4 including Dehnr Garclen's Personnel
Handbook& Policies,anddocumentscontainedin thepersomelfi.lesfor Plaiutiffs Chura,Cook
& Gilstrap




        DocumentRequestNo. 19: Identify and produce all documentsconceming any
'litigation hold' documentscreatedin connectionwith Plaintiffs' (Chw4 Cookand/orGilstrap)

                                                      memorandum,emails or other
claims, including but not limited to any correspondence,

documentsthat direct Employer'semployeesto maintainfiles that might concemany of the

          madeby Plaintiffs (Chura,Cook and/orGilstrap)that are the zubjectof the instant
a^llegations

zuit.

        Answer:       Defendantobjectsto RequestNo. 19 as it seeksinformationnot relevant
to the issuesin this lawsuit,nor reasonablycalculatedto lead to the discoveryof admissible
evidenceand to the extentthat it seeksdocumentsprotectedby the attomey-clientprivilege.
Subjectto andwitlout waiving saidobject Defendantstatesthat it wasinstnrctedby Cormselto
take stepsto preserveall evidencethat is potentiallyrelevantto this litigation, includingall
docrunents,recordings,electronicallystoredinformation,andphysicalobjects.




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               RequestNo. 20: Identify andproduceall docrmlentsgatheredin comection
       DqlcuEqeJt

with any investigationconductedin connectionwilh Plaiatiffs' (Chura,Cook and/orGilstrap)

claims,

       An.swer:      Defendantobjectsto DocumentRequestNo. 20 on the grouodsthat it
seeksinforrnationprotectedby the attorney-cliefi privilege and the attomeywork product
doctrine. Subject to and without waiving said objection,Defendantreservesthe right to
supplement its response
                      to RequestNo. 20 afterfurtherinvestigationanddiscovery,




      DocumentReauestNo. 31,: To the extentnot containedin llarasser'spersonnelfile,

identify andproduceall docurnents
                                concerningany separationagreement,
                                                                severance
                                                                        agreement,

resignationlettermd anyotherdocrunentreferring,reflectrngor relatingto Harasser'sseparation

from Employer,includingwithoutlimitationdocmentsthat reflectthereasonfor the separation.

      Answer:                  produced,includingpersonnelfile for TanyaBennett.
                    Seedocuments




      DocumentRequestNo-.2?: Identify andproduceall documentsconcemingschematics

showing the structure and functioning of: Employer's computersystems,including wer

computers,and servers;Employer'semail systenqincludingMS Exchangeserver,Employer's

systemfor makingfapeor otherbackupsofthe above;Employer'saudioand video recording

equipment location of cameras,microphones,seryers,hard drives, backup systems,and

reflectingwhichcomputer,audioandvideorecordingsarebackedup on to whichdevice.

      Answer:       Defendantobjects to RequestNo. 22 as being ovedy broad, unduly
burdensome andto the extentthat it seeksinformationthat is not relevantto the issuesof this
lawzuit. Subjectto andwilhout waiving saidobjection,Defendant'sIT servicesarecontracted




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out to a third-partycontractor. Defendantreservesthe rieht to supplementits responseto
RequestNo.22.




       DocumentRequestNo. 23: Identifyandproduceall documentsconcerningdiscipline,

reprimand,docking of pay, nrspension,reductronof pay, reduotionsof title. reductionof

responsibilities,
               concemingHarasser.

     Answer:         See documentsproducing, including documentscontainedin Tanya
Bennett'spersonnelfile.




       DocuurentReouestNo. 24: Identify and producecopiesof any and all correspondence

or any other documentsreflecting communicationswith third parties including, but not limite.dto,

any and all police deparheirts and/or otler govemmentagenciesincluding the Inlemal Revenue

Service, public welfare agencies,as well as hospitals and/or other health care providers, private

persons, and businessesconcerniag Employer's eflorts to obtain documents or information

concerningPlaintilfs (Chura, Cook and,iorGilstrap).

         Answen         Seedocumentsproduced,including docurnentscontainedin the personnel
files of Plaintiffs Chur4 Cook and Gilstrap,




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       DocumentReouestNo. 25: Identify andproduceall documents
                                                             receivedin response
                                                                               to

subpoenas
        in the instantcase.

      Answer:        None.




       DocurnentRecuestNo. 26: Identify aadproduceany cell phonesor canerzrsprovided

to the llarasserandanyof the Plainliffs(Chura,Cook and/orGilstrap)for their useby Employer

for inspectionby Plaintiffs' counselat a mutuallyconvenientdateandtime.

      Answer:        Defendantobjectsto RequestNo. 26 as it seeksinformationthat is not
relevantio the issuesinvolved in this lawsuit. Subjectto and witlrout waiving saidobjection,
Defendaatdid not provideany of the Plaintiffs or the allegedHarasserwith a companycell
phoneor camera.




       Document RequestNo. 27: Identify and produce all documents conceming the

complete personnel files, disciplinary files, applications for employment, all docunents

conceming performance, discipline (including supporting or related documents), attendance

records, criminal reoords (if any) and documentsconceming leaves of absence,quaLiftcatir:ns,

termination and haining of Harasser.

       Answer:       Seedocunents produced,including Tanya Bennett's personnelfils'




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 '    DocumentRequestNo. 28: Providethe name,last knoranraddress,telephonenurnber

andceltularphoneoutnberofeaohCNA andnurseeraployedby Employerfrom January1,2008

to present.

       Anq$er:       Defendantobjectsto DocumentRequestNo. 28 on the groundsthat it is
ovedybroad,undulyburdensome,     vague,arnbiguous,                          calculatedto
                                                  irelevant andnot reasonably
lead to the discoveryof admissibleevidence. Subjectto and without waiving said objectioq
Defendantshallsupplement  its response                          cover,
                                     to this requestunderseparate



                                        Respectfu
                                                lly submitted,

                                                   P.C
                                        HESSEMARTONE,



                                        By:Jsl AndrewJ. Martone         _
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                                           Auorneysfor Defendant
                                           Deluar Gardensof Lenexa,Ine.


                             CERTTFTCATEQF SERVIqE.

     Theundetsiped doesherebycertify that a copyof the foregoingwassenlvia First Class
U.S.Mail, postage
                prepaid,onthis 5thdayof August 2011,tothefollowing:

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                                                        /# AndrewJ. Martone




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